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Westem Districr of Tennessee

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United States of Arnerica ORDER HOLDING PR 1 "

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Kathy Cook Case Number: 03-20128-04-Ma

 

On July 26, 2005, the defendant appeared before me on a charge of violation of the terms
and conditions of her supervised release in this matter. At this hearing, the defendant WAIVED
her right to a preliminary hearing.Stephen Hall , AUSA, representing the government, and Pam
Hamrin, defense attorney, representing the defendant, Were present.

Accordingly, the defendant is held to a final revocation hearing before Judge Mays. It is
presumed that the United States District Court Will set this matter for a revocation hearing
pursuant to Federal Rule of Crirninal Procedure 32.1(a)(2), and Will see that appropriate notices

are given. The defendant is remanded to the custody of the United States Marshal.

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This doctment entered on the docket sheet in compliance
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Jeffrey J ones
JONES LAW FIRM
6540 Stage

Bartlett7 TN 3 8134

Linda N. Harris

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

l\/lemphis7 TN 38103

April Rose Goode

FEDERAL PUBLIC DEFENDER
200 Jefferson Ave.

Ste. 200

l\/lemphis7 TN 38103

Honorable Samuel Mays
US DISTRICT COURT

